
USCA1 Opinion

	










          September 13, 1995
                                [NOT FOR PUBLICATION]
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT



                                 ____________________


        No. 94-2105

                                 JOSEPH E. SIMANONOK,

                                Plaintiff, Appellant,

                                          v.

                          UNITED STATES OF AMERICA, ET AL.,

                                Defendants, Appellees.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW HAMPSHIRE


                   [Hon. Joseph A. DiClerico, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________
                            Cyr and Stahl, Circuit Judges.
                                           ______________

                                 ____________________

            Joseph E. Simanonok on brief pro se.
            ___________________
            Russell F.  Hilliard, Kimberly Kirkland,  Upton, Sanders &amp;  Smith,
            ____________________  _________________   _______________________
        on brief for Northeast Defendants.
            Loretta C.  Argrett, Assistant  Attorney General,  Gary R.  Allen,
            ___________________                                ______________
        Kenneth  L. Greene  and Randolph L.  Hutter, Attorneys,  Tax Division,
        __________________      ___________________
        Department of Justice, brief for federal appellees.


                                 ____________________

                                 ____________________

















                      Per  Curiam.   Joseph  Simanonok  appeals  from the
                      ___________

            district  court's dismissal  of his  complaint under  Fed. R.

            Civ. P.  12(b)(1) and  (6) and  its denial  of his  motion to

            amend his complaint.  We affirm.

                                I.  Background
                                    __________

                      Simanonok sued  the Northeast Federal  Credit Union

            (NEFCU)  and  one  of  its employees  for  alleged  negligent

            compliance with Internal Revenue  Service (IRS) levies on his

            bank account.  He  sued IRS employees for issuing  the levies

            and  for  filing  notices of  lien  on  his  property in  New

            Hampshire,  claiming that he had no obligation to pay federal

            income tax since the IRS could not tax or sanction members of

            the  United States Armed Forces and that the IRS's levies and

            notices of lien were invalid.   In part, he asserted that the

            IRS had  levied on exempt  property and had  violated certain

            statutorily required procedures in assessing his tax.

                      Questioning    the   court's    jurisdiction   over

            Simanonok's suit, a magistrate judge ordered him to amend his

            complaint  in  specific   ways  to  establish   jurisdiction.

            Simanonok moved to vacate the order, and the magistrate judge

            treated his  motion as  an amended complaint.   Subsequently,

            the magistrate  judge denied a separate  attempt by Simanonok

            to  file an  amended complaint.   The  district court  denied

            Simanonok's motion to reconsider the denial.  In  response to

            defendants'   Rule  12(b)   motions,  the   magistrate  judge



















            recommended dismissing some counts  of the complaint for lack

            of jurisdiction and others  for failure to state a  claim for

            relief.   The  district  court issued  orders dismissing  the

            complaint.

                                     II.  Discussion
                                          __________

                      A.   District Court's Failure to  Reject Magistrate
                           Judge's Actions                               
                           _____________________________________________

                      Simanonok challenges the district  court's adoption

            of the magistrate judge's  reports recommending dismissal  of

            the  complaint  and  rejection   of  the  amended  complaint.

            According  to Simanonok,  the  magistrate  judge should  have

            issued  proposed findings of fact  and held a  hearing on the

            motions.   Simanonok also asserts as error the failure of the

            court  to obtain  his  consent to  action  by the  magistrate

            judge.

                      We find  no error  in the proceedings  below.   The

            Federal Magistrates Act clearly  permitted the district court

            to  refer to the magistrate  judge the Rule  12(b)(1) and (6)

            motions  for a  report and  recommendation, see  28 U.S.C.   
                                                        ___

            636(b)(1)(B),  and the motion to amend for decision.  See id.
                                                                  ___ ___

               636(b)(1)(A); Pagano v. Frank, 983 F.2d 343, 346 (1st Cir.
                             ______    _____

            1993).    The magistrate  judge was  not  required to  hold a

            hearing on the Rule 12(b) motions, see Fed. R. Civ. P. 72(b);
                                               ___

            accord C. Wright, A. Miller &amp; F. Elliott, 12 Federal Practice
            ______                                       ________________

            &amp;  Procedure     3076.7, at  56  (1995  Supp.),  or to  issue
            ____________

            proposed  findings of  fact.   See  Fed.  R. Civ.  P.  72(b).
                                           ___


                                         -3-















            Because the case was not referred to the magistrate judge for

            entry   of  final  judgment,   Simanonok's  consent  was  not

            required.  See 28 U.S.C.   636(c)(1)-(2).
                       ___

                      Moreover,  the  district court  did  not abuse  its

            discretion in  denying Simanonok's  motion to reconsider  the

            denial  of  his amended  complaint.    Simanonok's motion  to

            vacate the order  to amend  his complaint was  treated as  an

            amended  complaint.  Thus, as of the time Simanonok sought to

            file  the  amended  complaint,  he had  already  amended  the

            complaint once as of right within the meaning of Fed. R. Civ.

            P. 15(a).  See Elliott v. Foufas, 867 F.2d 877, 882 (5th Cir.
                       ___ _______    ______

            1989).  Nor did the amended complaint cure the jurisdictional

            deficiencies  of  the  complaint, or  allege  any  wrongdoing

            whatever by the persons Simanonok sought to add as parties to

            the  amended complaint.  Hence, denial  was appropriate.  See
                                                                      ___

            Long  v.  United States,  972  F.2d  1174,  1183  (10th  Cir.
            ____      _____________

            1992).1

                      B.     Dismissal  for   Lack   of  Subject   Matter
                             ____________________________________________

            Jurisdiction
            ____________

                      The district court dismissed  certain counts of the

            complaint  against the  IRS  defendants for  lack of  subject


                                
            ____________________

            1.  Because other  grounds in the record  support the court's
            denial of Simanonok's motion to  amend his complaint, we need
            not consider his claim that he properly served the defendants
            or was prevented  from doing  so or that  the defendants  had
            actual notice of the  amended complaint.  See Acha  v. United
                                                      ___ ____     ______
            States, 910 F.2d 28, 30 (1st Cir. 1990).
            ______

                                         -4-















            matter jurisdiction, construing those counts to seek a refund

            or  to challenge  Simanonok's  underlying tax  liability.   A

            taxpayer who seeks a refund  or who challenges his underlying

            tax liability must allege that he has paid his taxes  in full

            and has  filed an administrative refund  claim before seeking

            relief  in district  court.   See  McMillen v.  United States
                                          ___  ________     _____________

            Department of Treasury,  960 F.2d 187, 188-89 (1st Cir. 1991)
            ______________________

            (per  curiam).  Simanonok did  not, and so  the dismissal was

            correct  to the  extent  that Simanonok  sought  a refund  or

            challenged his underlying tax liability.  

                      Simanonok  has asserted  various objections  to the

            dismissal, none of which we find meritorious.  His claim (and

            certain  related  claims) that  the  IRS  had assessed  taxes

            against  him with respect to income paid to his former spouse

            directly challenges his underlying  tax liability.  Given his

            failure  to allege that he had paid  the tax in full or filed

            an administrative refund claim, the court had no jurisdiction

            over this claim.   See id.2   The same  is true of his  claim
                               ___ ___

            that  the IRS  had no  jurisdiction over  him since  he  is a

            member of the United States Armed Forces.

                      Although  Simanonok also  argues that  28 U.S.C.   

            1442a,  the Federal Tax Lien  Act of 1966  (together with the

            Uniform  Commercial  Code),  and  5 U.S.C.     706  conferred


                                
            ____________________

            2.  In  any  event, this  claim  was  never  asserted in  the
            complaint.

                                         -5-















            jurisdiction on the court  over his suit, those  laws plainly

            did not do so.  Moreover, long ago we rejected the claim that

            28 U.S.C.   2463 confers jurisdiction on district courts with

            respect to  suits involving  property  seized by  levy.   See
                                                                      ___

            Morris v. United States,  303 F.2d 533, 535 (1st  Cir. 1962),
            ______    _____________

            cert. denied, 371 U.S. 827 (1962).  
            ____________

                      Simanonok correctly asserts that  28 U.S.C.   1340,

            together with the waiver of sovereign immunity in 28 U.S.C.  

            2410, confers  jurisdiction  on district  courts over  "quiet

            title"  suits alleging defects in IRS levies and liens.  See,
                                                                     ____

            e.g., Harrell v. United States, 13 F.3d 232, 234-35 (7th Cir.
            ____  _______    _____________

            1993).  However, he fails to specify any claim  of his which,

            under  those statutes,  should  have survived  the motion  to

            dismiss for lack of  jurisdiction.  As a consequence,  he has

            waived any error  the district  court may have  made in  that

            respect.  See United States v.  Zannino, 895 F.2d 1, 17  (1st
                      ___ _____________     _______

            Cir.), cert. denied, 494 U.S. 1082 (1990)  (claims are deemed
                   ____________

            waived  if  they  are merely  adverted  to  in  a perfunctory

            fashion without any attempt at developed argumentation).

                      C.   Dismissal  for Failure  to  State a  Claim For
                           ______________________________________________

            Relief
            ______

                      Simanonok argues that the court erred in dismissing

            certain  counts of the complaint for failure to state a claim

            for relief.  His argument  that he stated a claim  for relief

            against  the NEFCU defendants is  unpersuasive in view of the



                                         -6-















            immunity accorded them under  26 U.S.C.   6332(e).3   We also

            reject his  arguments relative  to the following  claims: (1)

            that his bank account and  retirement income were exempt from

            levy under 26 U.S.C.    6334(a)(10) and (d)(3); (2)  that the

            IRS was required to file a notice of lien before it levied on

            his  property; and  (3) that  the lien  notices filed  in New

            Hampshire failed to  comply with  26 U.S.C.    6065 and  N.H.

            Rev. Stat. Ann.   454-B:3 &amp; B:4.  

                      By failing to develop  any argument whatever on the

            issue, Simanonok has waived  his claim that his  bank account

            and  retirement income were  exempt from levy.   See Zannino,
                                                             ___ _______

            895 F.2d at 17.  His  other two claims did not state a  claim

            for relief.  The  Internal Revenue Code does not  require the

            IRS to file  notices of  lien before it  levies on  property.

            See  26  U.S.C.      6331(a),   (d)(1)-(2)  (describing   the
            ___

            prerequisites  for  levying on  property).    In addition,   

            6065's verification  requirement  applies only  to  documents

            which taxpayers send  to the IRS.  See In  re White, 168 B.R.
                                               ___ ____________

            825,  833 (D.  Conn. 1994),  appeal dismissed,  95-1 U.S.T.C.
                                         ________________

            (CCH)    50,215 (D. Conn. 1995).  Hence,   6065 did not apply

            to  the  notices in  question here.    Moreover, even  if New

            Hampshire  law  required IRS  officials  to  certify or  sign

            notices of lien, the form and content of IRS  notices of lien

                                
            ____________________

            3.  The   district   court   apparently    asserted   pendent
            jurisdiction  over the  state  law claims  against the  NEFCU
            defendants.

                                         -7-















            are  not subject to state law  requirements.  See 26 U.S.C.  
                                                          ___

            6323(f)(3). 

                                III.  Motion for Sanctions
                                      ____________________

                      In a separately filed motion, the IRS has requested

            sanctions of  $2,000 in  lieu of  costs and  attorney's fees,

            asserting that Simanonok's appeal was frivolous.  See Fed. R.
                                                              ___

            App.  P.  38(a).     In  part,  this  appeal  was  frivolous.

            Simanonok claimed that his  military status exempted him from

            federal income taxation, a claim which he knew was frivolous.

            Other courts have told him so, and he has been sanctioned for

            making it.   He also  should have known  that his  allegation

            that 28 U.S.C.    1442a and 2463, the Federal Tax Lien Act of

            1966  (and the Uniform Commercial  Code), and 5  U.S.C.   706

            authorized the  court's jurisdiction over his  claims was not

            meritorious.   Furthermore, he failed to  develop obvious and

            possibly  meritorious arguments on  appeal, casting  doubt on

            the  sincerity with which  he brought  certain claims  in the

            first  place.  Finally, he has not objected to the imposition

            of sanctions, e.g., on the ground that he cannot pay them.  

                      However, we  do not  think that all  of Simanonok's

            claims on appeal were frivolous, even though we found none of

            them  to  be  persuasive.     For  example,  Simanonok  might

            reasonably have  believed  that the  magistrate judge  should

            have held a hearing or issued proposed findings of fact.  The

            district  court  referred  the  Rule  12(b)  motions  to  the



                                         -8-















            magistrate judge under 28 U.S.C.   636(b)(1)(B), which states

            that  "a judge  may also  designate  a magistrate  to conduct

            hearings [and] to  submit to  a judge of  the court  proposed

            findings of fact."  

                      Since the  appeal was  frivolous in part,  we order

            payment of double costs.

                      Affirmed; double costs.
                      _______________________







































                                         -9-









